                                        UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF ARIZONA

                                                              Minute Entry
Hearing Information:
                       Debtor:   ARLENE & RONALD J SILVER
                 Case Number:    2:17-BK-07624-SHG                      Chapter: 11

          Date / Time / Room:    THURSDAY, SEPTEMBER 20, 2018 02:00 PM 3RD FLOOR #301

         Bankruptcy Judge:       SCOTT H. GAN
              Courtroom Clerk:   TERESA MATTINGLY
               Reporter / ECR:   WESLEY STANGRET                                                                                       0.00


Matter:
              CONTINUED FINAL HEARING ON MOTION FOR RELIEF FROM STAY RE: 2701 W GLENDALE RD., PHOENIX,
              AZ 85051 FILED BY JOSEPH JOHN TIRELLO JR. OF ZIEVE, BRODNAX & STEELE, LLP ON BEHALF OF U.S.
              BANK NA.(set at hrg. held 6/19/18) (cont. from 7/19/18) (cont. from 8/9/18)
              R / M #: 71 / 0



Appearances:
        KYLE A. KINNEY, ATTORNEY FOR ARLENE SILVER, RONALD J SILVER


Proceedings:                                                                                                                    1.00

        Mr. Kinney advises that the parties have reached an agreement on a stipulation resolving cash collateral, lift stay and plan
        treatment. It is subject to final review by the clients. He thinks that the stipulation will be uploaded within a few days.

        The Court asks if there has been discussions about not conducting any further hearings on this matter.

        Mr. Kinney believes that the case will be dismissed without prejudice and the creditor may renotice subject to the terms of the
        stipulation.

        COURT: IT IS ORDERED THE MOTION IS DENIED WITHOUT PREJUDICE. IF COUNSEL DECIDES THERE IS
        A BASIS UPON WHICH THEY WILL NEED TO MOVE FORWARD, THE MOTION MAY BE RENOTICED.

        The hearing is adjourned.




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